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 4
     Attorney for Defendant
 5   FORTUNATO BEAS
 6
 7
 8                    IN THE UNITED STATES DISTRICT COURT FOR THE
 9                                EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,           )             No. 1:06-CR-00381
                                         )
12                                       )              STIPULATION TO CONTINUE
                       Plaintiff,        )              SENTENCING HEARING;
13                                       )              ORDER
           v.                            )
14                                       )
                                         )             Date: December 21, 2007
15   FORTUNATO BEAS,                     )             Time: 9:00 a.m.
                                         )             Judge: Hon. Lawrence J. O’Neill
16                     Defendant.        )
                                         )
17   ____________________________________)
18          TO THE HONORABLE JUDGE LAWRENCE J. O’NEILL, JUDGE OF THE
19   ABOVE-ENTITLED COURT:
20          The parties in the above-captioned action by and through their respective attorneys of record
21   hereby submit the following Stipulation to Continue the Sentencing Hearing currently scheduled for
22   December 21, 2007, and the parties hereby stipulate to continue the above hearing to February
23   15, 2007, at 9:00 a.m.. The purpose for this continuance is that additional time is needed by counsel
24   for Defendant FORTUNATO BEAS to obtain additional information that counsel intends to offer
25   at the time of sentencing.
26   ///
27   ///
28   ///
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 1            To the extent that it is necessary, the parties agree that the delay resulting from the
 2   continuance shall be excluded in the interests of justice, including but not limited to, the need for
 3   the period of time set forth herein for effective defense preparation pursuant to 18 U.S.C.
 4   sections 3161 (h)(8) (A) and 3161(h)(8)(B)(i) and (iv).
 5
                                                             Law Office of Eric P. Escamilla
 6
 7   Dated: December 17, 2007                        By:     /s/ Eric P. Escamilla
                                                             ERIC P. ESCAMILLA,
 8                                                           Attorney for Defendant
                                                             FORTUNATO BEAS
 9
10                                                           United States Attorney
11
     Dated: December 17, 2007                        By:     /s/Laurel Montoya
12                                                           Laurel Montoya
                                                             Assistant United States Attorney
13                                                           Attorney for Plaintiff
14
15                                                  ORDER
16   Time is excluded pursuant to 18 U.S.C. sections 3161 (h)(8)(A) and 3161(h)(8)(B)(i) and (iv).
17   HOWEVER, a continuance of sixty (60) days, without a legitimate reason, seems excessive. The
18   continuance is for three weeks, to January 11, 2008 at 9 a.m.
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25   IT IS SO ORDERED.
26   Dated:      December 17, 2007                      /s/ Lawrence J. O'Neill
     b9ed48                                         UNITED STATES DISTRICT JUDGE
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